Case 1:16%¢0509936s DG frit CouBocument 535

SOUTHERN DISTRICT OF NEW YORK

CATHERINE MCKOY, MARKUS FRAZIER, and
LYNN CHADWICK, individually and on behalf of all
others similarly situated,

Plaintiffs,
e No. 1:18-cv-09936 (LGS)

THE TRUMP CORPORATION, DONALD J. TRUMP,
in his personal capacity, DONALD TRUMP, JR., ERIC
TRUMP, and IVANKA TRUMP,

Defendants.

DECLARATION OF CATHERINE MckOY

I, Catherine McKoy, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that
the following is true and correct:

1. I enrolled as an ACN Independent Business Owner (“IBO”) in 2014 and pursued
the opportunity for approximately two years.

2 During my time as an ACN IBO, I was a resident of California.

oe Donald Trump’s statements about ACN were the reason why | became an ACN
IBO. I relied on Trump’s endorsement of ACN and his statements about the ACN IBO
Opportunity when I decided to spend $499 to enroll as an ACN IBO.

4, The only money I made from ACN was a single check for $38. That was not even
enough to pay for my $499 sign-up fee.

S I understand my role as a proposed class representative is to represent all the other
ACN IBOs who relied on Trump’s endorsement when they joined ACN. I take my duties as a

proposed class representative seriously.

Filed 03/10/23 Page 1 of 1

ae)

6. Tam familiar with the Complaint filed in this lawsuit, which includes allegations

based on my experience with ACN.

a I have stayed in contact with my attorneys since this case was filed.
8. Talso provided my attorneys information for discovery and testified at my
deposition in 2022,

I declare under penalty of perjury that the forgoing is true and correct.

(0 offen

ve
CATHERINE McKOY

Dated: March a 2023

